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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re
                                                       Chapter 7
ESTELLA BRIZINOVA AND
EDWARD SOSHKIN,                                        Case No. 12-42935(ESS)

                                          Debtors.

ROBERT L. GELTZER,CHAPTER 7
TRUSTEE OF THE ESTATE OF
ESTELLA BRIZINOVA AND
EDWARD SOSHKIN,

                                          Plaintiff,

          - against -                                  Adv. Proc. No. 17-01157(ESS)

ZLATA SOSHKIN a/k/a
ZLATA POLUICHINA,

                                         Defendant.



                     PLAINTIFF-TRUSTEE'S MEMORANDUM OF LAW
                 IN OPPOSITION TO DEFENDANT'S MOTION TO DISMISS




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                                     PRELIMINARY STATEMENT

        Plaintiff Robert L. Geltzer, as Chapter 7 trustee ("Plaintiff or "Trustee") of the Estate

of Estella Brizinova ("Brizinova") and Edward Soshkin ("Soshkin"; together with Brizinova,

the "Debtors"), by his undersigned special counsel, hereby submits this Memorandum of Law in

opposition to the motion (the "Motion") of defendant Zlata Soshkin ailda Zlata Polukhina

("Defendant") to dismiss the Trustee's complaint against Defendant in this adversary

proceeding (the "Complaint").

        The Trustee's claims in this adversary proceeding center upon: (a) the Defendant's

improper receipt and conversion of profits derived from the post-petition sales of auto parts by

ENSI Consulting, Inc.("ENSI"), an entity that, as of the petition date, was 100% owned by the

Debtor Brizinova, and thus became property of the bankruptcy estate upon the petition date; and

(b) violations of the automatic stay.

        These claims are based upon third party discovery and additional information obtained

during the course of the Debtors Adversary which show that Defendant, who is the Debtors'

daughter-in-law, was using the ENSI eBay account to effectuate ENSI auto part sales post-

petition, and that proceeds therefrom were being deposited into a PayPal account registered to

Defendant, and linked to Defendant's checking accounts. These claims are virtually identical to

those asserted in another pending adversary proceeding in this bankruptcy case brought by the

Trustee against the Debtors, Geltzer as Trustee v. Estella Brizinova and Edward Soshkin, Adv.

Proc. No. 15-01073 (ESS)(the "Debtors Adversary"). The Trustee commenced the Debtors

Adversary based upon, among other things, documentary evidence indicating that ENSI's sales

of auto parts over the interne had continued well after the Petition Date, evidence that belied the

Debtors' contrary contentions in their respective Bankruptcy Rule 2004 exams that ENSI had

stopped operating prior to the Petition Date.
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        Just as he now has moved in this adversary proceeding on behalf of Defendant, Karamvir

Dahiya, Esq. of Dahiya Law Office, LLC ("Dahiya"), as counsel to the Debtors in the Debtors

Adversary, moved to dismiss the Trustee's claims therein for turnover of estate property,

violation of the bankruptcy automatic stay, and conversion of estate funds. That dismissal

motion, opposed by the Trustee, was denied by this Court in substantial part in its July 20, 2016

Memorandum Decision on Amended Motion to Dismiss Adversary Complaint (the "Memo

Decision"), a copy of which is annexed hereto as Exhibit 1.1

          Dahiya did not argue in the dismissal motion in the Debtors Adversary that the ENSI

post-petition sale proceeds were not property of the bankruptcy estate (see Document No. 8 on

the Court's electronic docket for Adv. Proc. No. 15-01073); more importantly, this Court made

holdings in its Memo Decision that the Trustee had adequately alleged that such proceeds were

property of the bankruptcy estate — holdings which constitute the law of this bankruptcy case.

Specifically, in its Memo Decision, this Court held that the Trustee had adequately alleged that

said sale proceeds were, indeed, property ofthe bankruptcy estate:

                 That is, the Trustee alleges that the property at issue is sale proceeds from
                 from the operation of ENSI which, in turn, was owned by the Defendants [the
                 Debtors] and became estate property upon the filing of the Defendants' [the
                 Debtors'] bankruptcy case. And that is adequate to allege that the property at
                 issue here was property of the estate.

Memo Decision at 26 [emphasis added].

         On this same issue, the Court further held that "the Trustee has adequately alleged that

the estate had title or a right to possess the sale proceeds," id. at 37, and that "The Bankruptcy



         In the Memo Decision, this Court denied dismissal of(a) the Trustee's turnover claim,(b) his claim for
violations of the bankruptcy stay, and (c) that portion of his conversion claim that alleged conversion of the estate's
100% ownership interest in ENSI. The Court granted dismissal only as to that portion of the Trustee's conversion
claim that alleged conversion of the ENSI sale proceeds, on the ground that the Trustee had not alleged the
conversion of specifically identifiable funds.


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Code authorizes a trustee to use the kind of funds that the Trustee seeks here to recover in

connection with the performance of his duties." Id. at 19. These holdings by this Court on this

issue constitute the law of this bankruptcy case.

          Notwithstanding, those holdings, Dahiya now, for the first time, in the instant Motion,

makes the erroneous contention on Defendant's behalf that such proceeds are not property of the

estate.

          As will be discussed herein, not only is Defendant's contention barred by the law of the

case doctrine, but also by the pertinent case law, which clearly demonstrates that the profits, in

the form of the post-petition sale proceeds derived from the estate's 100% ownership interest in

ENSI, constitute property of the Debtors' bankruptcy estate. Accordingly, Defendant's Motion

to dismiss should be denied in its entirety.

                                      FACTUAL BACKGROUND

          As set forth in the Trustee's Complaint in this adversary proceeding (a copy of which

Complaint is annexed hereto as Exhibit 2), Schedule B to the Debtors' petition sets forth that as

of the petition dateof April 24, 2012 (the "Petition Date), the Debtor Brizinova held a 100%

ownership interest in ENSI (Complaint, ¶9). The foregoing fact was also noted in this Court's

Memo Decision at page 2:"On Schedule B, the Defendants [the Debtors] indicate that as of the

petition date, Ms. Brizinova held one hundred percent of the stock of ENSI." Accordingly, upon

the filing of the Debtors' petition, the Debtor Brizinova's 100% ownership interest in ENSI

became the property of the Debtors' bankruptcy estate.

          The Trustee commenced the Debtors Adversary based upon, among other things,

documentary evidence indicating that ENSI's sales of auto parts over the internet had continued




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well after the Petition Date, evidence that belied the Debtors' contentions in their respective

Bankruptcy Rule 2004 exams that ENSI had stopped operating prior to the Petition Date.

        During the course of discovery in the Debtors Adversary, the Trustee and his

professionals obtained significant documentation and information from two subpoenaed non-

parties, eBay and PayPal, as well as additional internet information, which not only further

undermined the Debtors' assertions that ENSI had ceased doing business pre-Petition Date, but

implicated the Debtors' daughter-in-law, the Defendant Zlata Soshkin, in the family's covert

scheme to hide from the Trustee the post-Petition Date continuation of ENSI's business

operations and the conversion of estate assets, namely, the proceeds and profits from the post-

Petition Date ENSI auto part sales.

        Specifically, as alleged in paragraph 12 ofthe Trustee's Complaint in this adversary

proceeding, such documentation and information implicating Defendant Zlata Soshkin included

the following:

            • Notwithstanding that as of the Petition Date, Brizinova's 100% interest in ENSI
              became property of the Debtors' bankruptcy estate, and without any authorization
              from the Trustee whatsoever, ENSI continued to sell auto parts subsequent to the
              Petition Date for a period in excess of three (3) years, commencing on the Petition
              Date of April 24, 2012 and ending no earlier than July 18, 2015.

            • Said unauthorized post-Petition Date ENSI sales of auto parts, which generated
              sale proceeds of at least $42,431.66, all of which proceeds constitute property of
              the Debtors' estate, were effectuated via eBay using the same user identification
              account, "buydashtrims," used by ENSI pre-petition to effectuate sales of auto
              parts via eBay.

            • Said eBay user identification account,"buydashtims," at all relevant times herein,
              was and is registered to Zlata Polukhina, which upon information and belief is
              Defendant's maiden name, and the registration indicates her address as 288
              Timber Ridge Drive, Staten Island, New York 10306, the aforementioned address
              where, upon information and belief, at all relevant times, Defendant has resided,
              and presently resides, with her husband, Nick Soshkin, the Debtors' son.



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             • Purchasers of the aforesaid post-Petition Date sales of ENSI auto parts effectuated
               via eBay made their payments to a PayPal account registered in Defendant's
               maiden name, Zlata Polukhina, and said registration, like the eBay registration,
               indicates her address as 288 Timber Ridge Drive, Staten Island, New York 10306.

             ■    The sale proceeds derived from ENSI's aforesaid post-Petition Date sales (the
                  "Post-Petition Sale Proceeds") were deposited into said PayPal account
                  registered to Defendant, and additional records produced by PayPal evidence the
                  use of certain monics from that PayPal account for Defendant's own personal
                  purchases and/or use and for purchases made by and/or on behalf Defendant's
                  husband Nick Soshkin and the Debtors' other son (Defendant's brother-in-law)
                  Igor Soshkin.

             • Moreover, said PayPal account has been linked to checking accounts at both
               JPMorgan Chase and TD Bank in Defendant's maiden name, Zlata Polukhina.

         Based upon the foregoing, the Trustee filed his Complaint in the instant adversary

proceeding, asserting turnover, conversion and bankruptcy stay violation claims against

Defendant Zlata Soshkin f/k/a Zlata Polukhina substantially similar, if not virtually identical, to

the ones asserted by the Trustee in the Debtors Adversary.

                                            ARGUMENT

I.   The Applicable Legal Standard

         "To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to 'state a claim to relief that is plausible on its face.' A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged. The plausibility standard is not

akin to a 'probability requirement,' but it asks for more than a sheer possibility that a defendant

has acted unlawfully. . . ." In re Fairway Group Holding Corp. Securities Litigation, No. 14

Civ. 0950(LAK)(AJP), 2015 WL 249508, at *3 (S.D.N.Y. Jan. 20, 2015)(emphasis in original

omitted)(quoting Ashcroft v. Iqbal, 556 U.S. 662, 677-79 (2009); Bell Atl. Corp. v. Twombly,

550 U.S. 544, 556-57 (2007)). Thus,"[w]hen there are well-pleaded factual allegations, a court


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 should assume their veracity and then determine whether they plausibly give rise to an

 entitlement to relief." Id. The "Court's role in deciding a motion to dismiss is merely to assess

 the legal feasibility of the complaint, not to assay the weight of the evidence which might be

 offered in support thereof." Id. at *4.

          This Court agreed in the Memo Decision at 15: "When considering a motion to dismiss

 under Rule 12(b)(6), the court should accept all well-pleaded factual allegations as true and

 draw all reasonable inferences in favor of the plaintiff. DiFolco v MSNBC Cable, L.L.C., 622

 F.3d 104, 110-11 (2d Cir. 2010) (citations omitted); Mills v. Polar Molecular Corp., 12 F.3d

 1170, 1174(2d Cir. 1993)."

          As will be discussed further below, the Trustee's Complaint more than adequately

 satisfies the pleading requirements set forth in the above-cited cases.


II.   Pursuant to Both the Law of the Case Doctrine and Applicable Statutory and Case
      Law, the Trustee Has Sufficiently Alleged That the Post-Petition Sale Proceeds Are
      Property of the Debtors' Estate and,Thus,Should be Turned Over to the Trustee

          A. The Law of the Case Doctrine is Applicable Here as Relates to the Motion to
             Dismiss

          As stated by the United States Court of Appeals for the Second Circuit in Pescatore v.

 Pan American World Airways, Inc., 97 F.3d 1, 7-8(2d Cir. 1996):

              The law of the case doctrine "'posits that when a court decides upon a rule of law,
              that decision should continue to govern the same issues in subsequent stages in the
              same case.'" DiLaura v. Power Auth., 982 F.2d 73, 76 (2d Cir. 1992)(quoting In re
              PCH Assocs., 949 F.2d 585, 592(2d. Cir. 1991)).

          The law of the case doctrine is applicable in the context, as exists in this bankruptcy case,

 of separate adversary proceedings in the same bankruptcy case. As stated by Judge Alan S. Trust

 ofthis Court in his recent decision in In re Moise, 575 B.R. 191 (Bankr. E.D. N.Y. 2017):

              The law of the case doctrine applies to different adversary proceedings filed within
              the same main bankruptcy case. See e.g., Cohen v. Bucci, 905F.2d 1111, 1112 (7th
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             Cir. 1990)(stating that "[a]dversary proceedings in bankruptcy are not distinct pieces
             of litigation; they are components of a single bankruptcy case").

         Thus, the law of the case was applied by the bankruptcy court in In re Bishop, 578 B.R.

 158, 166 (Bankr. W.D. N.Y. 2017) with respect to certain issues arising in an adversary

 proceeding brought by the United States Trustee, where those issues already had been decided

 by the court regarding a motion brought by the United States Trustee in the same bankruptcy

 case, and where the relief sought in the adversary proceeding arose out of the same set of facts,

 and under the same statute, as had been involved in the prior motion. See also, In re Belmonte,

 524 B.R. 17, 26(Bankr. E.D. N.Y. 2015).

        The Post-Petition Sale Proceeds which are the subject of the Trustee's allegations and

 claims in the instant adversary proceeding are the same estate assets involved in the Debtors

 Adversary. They represent proceeds and profits from the same entity, ENSI, as to which the

 Debtors' estate holds the 100% ownership interest, and the claims asserted against Defendant

 herein for turnover and conversion of the Post-Petition Sale Proceeds and violations of the

 bankruptcy stay in connection therewith are the same, and involve the same statutes, as those

 asserted by the Trustee in the Debtors Adversary. Accordingly, this Court's above-mentioned

 rulings in denying the Debtors' motion to dismiss most of the claims in the Debtors Adversary

(where the Debtors, like the Defendant here, are represented by Dahiya), constitute the law of

 this bankruptcy case, and negate Defendant's contention in the instant adversary proceeding that

 the Trustee has failed to assert a cognizable claim with respect to any assets ofthe estate.




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         B. The Code and the Case Law are Clear that The Post-Petition Sale Proceeds Are
            Property of the Estate

         Moreover, the pertinent provisions of Section 541 of the Bankruptcy Code, and the

pertinent case law applying those provisions, make clear that the Post-Petition Sale Proceeds

involved in the instant adversary proceeding, as is true with respect to the Debtors Adversary, are

proceeds and profits derived from the estate's 100% interest in ENSI and thus constitute property

of the Debtors' estate.

         Section 541(a) of the Bankruptcy Code states in relevant part that a debtor's bankruptcy

estate "is comprised of all the following property, wherever located and by whomever held:

         ...(6) Proceeds, product, offspring, rents or profits of or from property of the estate,
         except such as are earnings from services performed by an individual debtor after the
         commencement of the case [emphasis added]."

In In re Neuman, 75 B.R. 966, 968-969(Bankr. S.D.N.Y. 1987)(where revenues from operation

of company owned by debtor were, along with ownership in the company, property of the

estate), the court stated:

         The definition of property of the estate is broad and includes all legal and equitable
         interests of the debtor in property as of the commencement of the case, see Code
         §541(a)(1), as well as the proceeds, product, rents or profits of or from property of the
         estate...see Code §541(a)(6).

Similarly, in In re Cook, 454 B.R. 204, 208(Bankr. N.D. Fla. 2011), where the so-called bonuses

were in the nature of dividends on stock owned by debtor's estate and thus dividends were assets

ofthe estate, the court stated:

            §541 of the Bankruptcy Code "is intended to include in [the] Debtor's estate almost
         any asset or interest of value Debtor has" [citation omitted]... Moreover, §541 is so broad
         that if any asset or interest of the Debtor's estate produces proceeds or profits, then those
         proceeds and profits are also property of the estate. 11 U.S.C. §541(a)(6).

         In accordance with this broad scope of Section 541, courts have held that proceeds,

profits and other distributions flowing from an entity in which the estate holds the ownership


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interest comprise assets of the debtor's estate as well. See e.g., In re Altchek, 124 B.R. 944

(Bankr. S.D.N.Y. 1991)(earnings from estate's interest in a partnership owned by debtor as sole

proprietor held to be property of the estate); In re Armstrong, 73 B.R. 143 (Bankr. N.D. Texas

1987) (commission paid to corporation owned by debtor could only be characterized as a

distribution of profits from company and therefore constituted property of the estate).

         Contrary to the Debtors' sworn testimony in this case, ENSI, of which the estate became

the 100% owner as of the Petition Date, was still operating subsequent to the Petition Date, and

the proceeds and profits derived from ENSI in the form of the Post-Petition Sale Proceeds also

constituted — and still do constitute -- assets of the Debtors' estate to which the Trustee is entitled

pursuant to Section 541(a)(6) of the Bankruptcy Code. Defendant's specious assertions that they

are not estate assets fly in the face of that statutory provision and of the case law interpreting and

applying same, and thus militate in favor of the denial of Defendant's motion.


         C. The Code, the Case Law and This Court's Memo Decision are Clear That the
            Trustee Has Adequately Alleged a Turnover Claim

        In the Memo Decision at 15-16, this Court noted that the Trustee had to allege the

following three elements to state a legally adequate claim against the Debtors for turnover of

Post-Petition Sale Proceeds pursuant to Section 542 of the Bankruptcy Code:

                 (1) the property is in the possession, custody or control of another entity; (2) the
                     property can be used in accordance with the provisions of section 363; and (3)
                     the property has more than inconsequential value to the debtor's estate
                    [citations omitted].

         The Court proceeded to hold that the Trustee's allegations in his complaint against the

Debtors sufficiently set forth those required elements and therefore denied the Debtors' motion

to dismiss the Trustee's turnover claim. See Memo Decision at 15-20.




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         The pertinent allegations in the Trustee's complaint against the Debtors (a copy of which

is annexed hereto as Exhibit 3; see ¶¶11-13 and 15-17 thereof), which allegations this Court

deemed to state a cognizable turnover claim, are substantially similar, and in fact in most

instances virtually identical, to those alleged in this Complaint against Defendant in support of

his turnover claim herein (see Exhibit 2, V111-13 and 15-18). Clearly then, applying both the

law of the case doctrine and other pertinent case law, the Trustee has set forth a legally sufficient

claim against Defendant for turnover of Post-Petition Sale Proceeds under Section 542 of the

Bankruptcy Code.


         D. This Court's Memo Decision Makes it Clear the Entirety of the Trustee's
            Conversion Claim is Adequately Pled

         In its Memo Decision at 29, this Court set forth and ruled that the four elements that

needed to be alleged for conversion of estate property under New York common law were all

satisfied by the Trustee as follows:

              (1) The plaintiff had title to the property in question or had a right to its possession;
              (2) the defendant converted a specifically identified property; (3) the defendant
              exercised unauthorized dominion over the identified property; and (4) the plaintiff
              was damaged by reason ofthe alleged conversion [citations omitted].

See Memo Decision at 29-37.

         The pertinent allegations as to conversion contained in the Trustee's complaint against

the Debtors (see Exhibit 3, ¶¶9-13 and 23-24) are substantially similar to those alleged with

respect to the conversion of the 100% interest in ENSI set forth in the Trustee's Complaint in

this proceeding against Defendant (see Exhibit 2, ¶119-13 and 20-22). Thus, applying both the

law of the case doctrine and other pertinent case law, the Trustee has set forth a legally sufficient

claim against Defendant for conversion ofthe estate's aforesaid interest in ENSI.




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         Unlike the portion of the Trustee's claim against the Debtors alleging conversion of Post-

Petition Sale Proceeds, respecting which this Court indicated that the Trustee had not alleged

"specifically identified property" (see Memo Decision at 34 and 37), here, in paragraph 12 of

this Complaint,2 the Trustee's does identify specific property, namely at least $42,431.66 of

Post-Petition Sale Proceeds, derived from sales of ENSI through the eBay account registered to,

and converted by, Defendant, who deposited said sale proceeds into a PayPal account also

registered to Defendant, and linked to Defendant's checking accounts at specifically identified

banks.

         Accordingly, the Trustee respectfully submits that consistent with this Court's Memo

Decision these very detailed allegations are more than satisfied by the Trustee who has set forth a

legally cognizable claim with respect to Defendant's claimed conversion of Post-Petition Sale

Proceeds.

         Nevertheless, the Defendant argues that Section 214(3) of the New York Civil Practice

Law and Rules governing conversion claims precludes in its entirety the Trustee's conversion

claim in this adversary proceeding. That argument fails for two reasons:

         The Trustee did not discover Defendant's conversion of estate assets until, in the course

of non-party discovery in the Debtors Adversary, the Trustee obtained: (a) from eBay on or

about July 25, 2017 documentation evidencing that — contrary to the Debtors' and their family

members' prior sworn testimony, in multiple instances, that ENSI had stopped operating prior to




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         Paragraph 12 ofthe Trustee's Complaint against Defendant is quoted in full in the penultimate paragraph of
the Factual Background section of this brief, at pages 4-5.


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the Petition Date3 — in fact, sales of ENSI auto parts were effectuated by Defendant via eBay for

a period of more than three (3) years subsequent to the Petition Date, ending no earlier than July

18, 2015; and (b) from PayPal on or about September 17, 2017 documents showing that

payments for said sales were made through a PayPal account registered to Defendant which in

turn was linked to Defendant's checking accounts.

         Given the repeated cover-up by the Debtors and their family members, including

Defendant, as to the foregoing, and that as a consequence thereof, the Trustee could not discover

any of these facts until starting on or about July 25, 2017, Defendant should be precluded from

asserting a statute oflimitation defense as to any portion ofthe Trustee's conversion claim.

         But even assuming arguendo that this Court were to apply the three-year statute of

limitations to the Trustee's conversion claim, the aforementioned eBay records show that the

eBay sales lasted through at least July 18, 2015 (see Complaint, Exhibit 2 at 112). The instant

adversary proceeding was filed on November 9, 2017. Therefore, at the very least, the Trustee's

conversion claim would encompass Post-Petition Sale Proceeds received and converted by the

Debtor commencing November 9, 2014, and future discovery in this proceeding may show more

sales of ENSI auto parts effectuated by Defendant through other internet vehicles and other

means that resulted in additional Post-Petition Sale Proceeds on or after November 9, 2014.




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         The sworn testimony to this effect was given by both Debtors at their respective Bankruptcy Rule 2004
exams, and at the depositions of the Debtor Soshkin and of the Debtors' two sons, Igor Soshkin and Nick Soshkin
(Defendant's husband). In addition, in their motion to dismiss the Debtors Adversary, the defendant Debtors, by
their counsel Dahiya, asserted that "ENSI ceased to operate in March 2012 and had no activity after the petition."
See Document No. 8 on this Court's electronic docket for Adv. Proc. No. 15-01073(ESS)at page 3.




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          E. The Trustee Has Adequately Alleged Defendant's
             Violations of the Automatic Bankruptcy Stay

          In ruling on the sufficiency of the Trustee's claim in the Debtors Adversary that the

  Debtors' alleged conduct constituted breaches of the automatic stay under Section 362(a) of the

  Bankruptcy Code, this Court set forth in its Memo Decision at 23 the three required elements of

  such a claim:

                   These are first, that the automatic stay was in effect at the time of the alleged
                   violation; second, that the property at issue was property of the estate; and third,
                   that the conduct in question constitutes a violation ofthe automatic stay.

          This Court went on to find that the Trustee's pertinent allegations in his complaint against

  the Debtors adequately set forth a viable claim for willful violation of the automatic stay under

  Section 362(a)for which he could seek relief under Section 362(k) of the Bankruptcy Code. See

  Memo Decision at 22-29. The allegations in the Trustee's Complaint against Defendant in

  support of his claim that Defendant willfully violated the automatic stay (see Exhibit 2, 11124-27)

  are substantially similar to those contained in the Trustee's complaint against the Debtors with

  respect to their alleged violations of the stay (see Exhibit 3, 11119-21). Accordingly, pursuant to

  this Court's ruling that said allegations were sufficient to state a claim in the Debtors' Adversary,

  and pursuant to the law of the case doctrine, Defendant's request for dismissal of the similar

  claim in this adversary proceeding likewise must be denied.



III.   This Court Has Jurisdiction Over This Adversary Proceeding

           As an obviously last resort argument, Defendant contends that this Court lacks

  jurisdiction over the Trustee's claims in this adversary proceeding. Once again, both the law of

  the case doctrine and applicable statutory law underscore the meritless nature of Defendant's

  argument.

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        In this Court's Memo Decision at 2, this Court explicitly held that it had jurisdiction over

the Trustee's claims for turnover, conversion and violation ofthe automatic stay asserted in the

Debtors Adversary:

                 This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 1334(b)
                 and 157(b)(1). This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(E).
                 And as a core matter, this Court has constitutional authority to enter a final
                 judgment, because the Trustee's claims stem "from the bankruptcy itself." Stern
                 v. Marshall, 564 U.S. 462, 499 (2011). For these reasons, this court has
                 jurisdiction and the authority to consider and enter judgment on these claims
                 under 28 U.S.C. § 1334(b) and the Standing Order of Reference dated August 28,
                 1986, as amended by Order dated December 5, 2012, of the United States District
                 Court for the Eastern District of New York.

        Like the Trustee's claims in the Debtors Adversary, his claims in the instant proceeding

are for turnover, conversion and violations of the automatic stay with respect to the estate's

100% interest in ENSI and in Post-Petition Sale Proceeds emanating therefrom. Therefore,

pursuant to this Court's above-quoted holding in the Debtors Adversary on the jurisdictional

issue, and to the law of the case doctrine, this Court has jurisdiction over each of the Trustee's

claims in the Complaint in this adversary proceeding.

        Furthermore, Defendant's jurisdictional argument is founded upon the assertion that the

estate's 100% interest in ENSI and in the Post-Petition Sale Proceeds are not assets of the estate,

a clearly erroneous assertion, as set forth in Point II, supra. Moreover, that state law may

determine what constitutes property of the Debtors' estate does not negate in any way that the

Trustee's claims against Defendant for turnover of the subject assets under Section 542(a) of the

Bankruptcy Code, for conversion of those assets, and for violations of the bankruptcy stay

imposed by Section 362(a) of the Bankruptcy Code, are core proceedings "arising under title 11"




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ofthe United States Code. See, 28 U.S.C. § 157(b)(1) and (b)(2)(E); Memo Decision at 2.4

        In short, that aspect of Defendant's motion which seeks dismissal of this adversary

proceeding for lack ofjurisdiction is devoid of merit and should be denied.



                                                CONCLUSION

        For all of the reasons set forth above, the Trustee respectfully requests that this Court

deny Defendant's motion to dismiss in its entirety.

Dated: New York, New York
       February 15, 2018
                                                                        TARTER KRINSKY & DROGIN LLP
                                                                        Substitute Special Litigation
                                                                        Counsel to the Chapter 7 Trustee

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         The case of Dynamic Drywall, Inc. v. McPherson Contractors, Inc., 2015 WL 4744501 (D. Kansas, August
 11, 2015) cited by Defendant is entirely inapposite to the instant proceeding. In that case, the debtor brought an
adversary proceeding for breach of contract and related conversion of equipment that the court deemed to be purely
non-core state law claims. But even with the latter finding, the federal district court merely granted the defendants'
motion to withdraw the reference to the bankruptcy court, so that the federal district court would exercise
jurisdiction over and conduct a jury trial ofthe debtor's claims.


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